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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 17-21915-CIV-GAYLES


   MICHAEL MENNELLA,
   an individual

                           Plaintiff,

                   v.

   AMERICAN AIRLINES, INC.,
   a foreign corporation,

                           Defendant.                  /


                                                ORDER

         THIS CAUSE comes before the Court on Defendant American Airlines’s Motion for

  Summary Judgment (“Motion”). [ECF No. 49]. The Court has reviewed the Motion, arguments of

  counsel, the record, and the applicable law. For the reasons that follow, the Motion is GRANTED.

                                        FACTUAL BACKGROUND

         This is an action for defamation and negligence against American Airlines based on events

  occurring while one of its planes was boarding and in the air. Plaintiff is a businessman. As part

  of his business, Plaintiff frequently travels for conferences and to expand his clientele. Plaintiff is

  a high-status member of American Airlines’s frequent traveler program and is used to traveling on

  airplanes—most frequently in first-class. A bilateral amputee, Plaintiff uses a wheelchair

  approximately 80% of the time, including while traveling.

         This incident stems from Plaintiff’s August 2016 flight from Miami to Las Vegas. Plaintiff

  was scheduled to fly to Las Vegas for an annual conference that in prior years had brought him

  substantial business. Plaintiff prepared for the flight as he typically did: he called American
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  Airlines a few months in advance to let them know that he was disabled and required wheelchair

  assistance and a pre-boarding pass. But when he showed up at the airport, Defendant seemed

  unprepared to accommodate him.

         Plaintiff was instructed to wait at the curb until a wheelchair could be found. Between 15

  and 20 minutes later, an employee arrived with a wheelchair. The employee did not speak English,

  limiting communication. The employee wheeled Plaintiff to the ticketing counter, where Plaintiff

  again waited for assistance. While waiting, Plaintiff became nervous that he would miss his flight.

  Rather than risk that, Plaintiff elected to walk most of the way to the gate using his prosthetic legs,

  arriving as they were pre-boarding the flight. Plaintiff voiced his complaints to the gate attendant.

  He also explained what he needed once he got on the plane and how the flight attendants could

  accommodate his disability.

         After boarding without assistance from the gate or flight attendants, Plaintiff sat down and

  removed his prosthetics. He told the first-class flight attendant that he was disabled. Plaintiff

  alleges that the flight attendant ignored him and refused to help him stow his prosthetics or his

  bag. Plaintiff also asked for ice and an alcoholic beverage. He alleges that other first-class

  passengers were served drinks, but he was not.

         After takeoff, Plaintiff reiterated his request to the first-class flight attendant for something

  to drink, ice, or aspirin. Despite telling her that he was in pain, Plaintiff was not served. He asked

  her if it was illegal for him to get up while the seat belt sign was on. She replied that it was not.

  Although walking without his prosthetics is painful, Plaintiff stood and walked to the back of the

  plane to request a drink from the main-cabin flight attendants. There, he was informed that the

  first-class flight attendant had already called back with the instruction to refuse him service.




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         Plaintiff was unhappy that he was refused service and loudly complained as he made his

  way back to his seat. The flight attendants requested the assistance of an armed law enforcement

  officer (“LEO”) onboard the flight. The LEO spoke with a passenger in first-class. The passenger

  acknowledged that Plaintiff was being loud, but said that it was due to Plaintiff’s physical

  discomfort and pain. The LEO remained in the cockpit area for the duration of the flight. The LEO

  briefly spoke with Plaintiff and told him that he did not know why the flight attendants were

  refusing to serve him. During this time, the flight attendants also spoke with the Captain frequently

  and advised him of Plaintiff’s actions. Plaintiff asked to speak with the Captain; the flight

  attendants denied his request.

         At some point, the Captain decided to divert the aircraft and land in Dallas/Fort Worth

  instead of Las Vegas. The parties dispute the reason for the Captain’s decision, and the record is

  not clear as to why he did so: either because of Plaintiff’s medical issues or because Plaintiff was

  disruptive and intoxicated. Plaintiff alleges that he—along with the entire first-class cabin—heard

  the first-class flight attendant on the airplane phone, presumably talking to the Captain, stating that

  Plaintiff was “a drunk,” “a drunk in first-class,” “drunk and disorderly,” and “extremely

  intoxicated.” Once the plane landed in Dallas, two police officers boarded and removed him from

  the aircraft. Plaintiff also alleges that one of the officers told him he was being removed because

  he had committed “a felony because of his extreme intoxication, and that the severity of his crime

  merited a lengthy incarceration.” Plaintiff claims the entire first-class cabin heard each statement.

         Plaintiff was not intoxicated. A breathalyzer test indicated no alcohol in his system. And

  although Plaintiff claims he was in pain during the events and suffered injuries, the record does

  not establish that he suffered any bodily injury during these events.




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          Plaintiff brought three claims against Defendant: (1) defamation per se, (2) violation of

  Title III of the Americans with Disabilities Act, and (3) negligence. [ECF No. 16]. The Court

  previously dismissed Plaintiff’s second claim [ECF No. 40], leaving only the defamation and

  negligence claims. Defendant now moves for summary judgment on both.

                                             DISCUSSION

     I.      Legal Standard

          Summary judgment, pursuant to Federal Rule of Civil Procedure 56(a), “is appropriate only

  if ‘the movant shows that there is no genuine issue as to any material fact and the movant is entitled

  to judgment as a matter of law.’” Tolan v. Cotton, 572 U.S. 650, 656–57 (2014) (per curiam)

  (quoting Fed. R. Civ. P. 56(a)). “By its very terms, this standard provides that the mere existence

  of some alleged factual dispute between the parties will not defeat an otherwise properly supported

  motion for summary judgment; the requirement is that there be no genuine issue of material fact.”

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). An issue is “genuine” when a

  reasonable trier of fact, viewing all of the record evidence, could rationally find in favor of the

  nonmoving party in light of his burden of proof. Harrison v. Culliver, 746 F.3d 1288, 1298 (11th

  Cir. 2014). And a fact is “material” if, “under the applicable substantive law, it might affect the

  outcome of the case.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259–60 (11th Cir. 2004).

  The Court must construe the evidence in the light most favorable to the nonmoving party and draw

  all reasonable inferences in that party’s favor. SEC v. Monterosso, 756 F.3d 1326, 1333 (11th Cir.

  2014). However, to prevail on a motion for summary judgment, “the nonmoving party must offer

  more than a mere scintilla of evidence for its position; indeed, the nonmoving party must make a

  showing sufficient to permit the jury to reasonably find on its behalf.” Urquilla-Diaz v. Kaplan Univ.,

  780 F.3d 1039, 1050 (11th Cir. 2015).



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      II.      Defamation Per Se

            Plaintiff alleges that Defendant committed defamation per se 1 when its first-class flight

  attendant allegedly stated, or caused the first-class cabin to hear, that he was “a drunk,” “a drunk

  in first-class,” “drunk and disorderly,” and “extremely intoxicated.” Plaintiff claims that these

  statements are defamatory per se because they impute poor judgment and lack of professionalism

  that affect his credibility as a businessman, and that passengers on the plane, which included his

  business colleagues, heard those statements. Defendant argues that even if the statements were

  made, they do not meet the standard for defamation per se and that Plaintiff cannot identify a

  specific third party who heard them, as required by case law.

            Slander per se, defamation based on a spoken statement, requires that: “(1) the defendant

  publish[] a false statement; (2) about the plaintiff; (3) to a third party; and (4) that the falsity of the

  statement cause[] injury to another.” Aflalo v. Weiner, No. 17-61923-CIV, 2018 WL 3235529, at

  *1 (S.D. Fla. July 2, 2018) (citing Alan v. Wells Fargo Bank, N.A., 604 F. App’x 863, 865 (11th

  Cir. 2015)). The Court finds that the alleged statements are not defamatory per se and that Plaintiff

  has not established that they were published to a third party. Each is addressed in turn.

            A. Defamatory Statements

            Plaintiff argues that the first-class flight attendant’s statements describing him as “a

  drunk,” “a drunk in first-class,” “drunk and disorderly,” and “extremely intoxicated,” negatively

  affected public perception of his judgment, an essential character trait in his line of work. “Per se

  defamatory statements are ‘so obviously defamatory’ and ‘damaging to [one’s] reputation’ that




  1
    The Court evaluates Plaintiff’s claim under the defamation per se standard. That was what
  Plaintiff pled in his Amended Complaint and he has not attempted to amend this count. The Court
  declines any implicit invitation to use a different defamation standard.


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  they ‘give[] rise to an absolute presumption both of malice and damage.’” Klayman v. Judicial

  Watch, Inc., 22 F. Supp. 3d 1240, 1247 (S.D. Fla. 2014), aff’d (Feb. 17, 2015) (italics in original)

  (citing Wolfson v. Kirk, 273 So. 2d 774, 776 (Fla. 4th DCA 1973)); Scobie v. Taylor, No. 13-

  60457-CIV, 2013 WL 3776270, at *2 (S.D. Fla. July 17, 2013) (Defamatory per se statements are

  so “injurious” that the harm “is apparent from the words in the statement itself.”).

         “[L]anguage that interferes with one’s profession” is one of the classic examples of

  defamation per se. Scobie, 2013 WL 3776270, at *2. The statement need not be true to cause injury.

  See Klayman, 22 F. Supp. 3d at 1248. (“[B]ecause it is the purportedly defamatory statement that

  must impute the criminal offense amounting to a felony, whether the underlying facts actually

  support a felony offense is not relevant”). Rather, it need only impute “conduct, characteristics, or

  a condition incompatible with the proper exercise of his lawful business [or] profession . . . .” Id.

  at 1247; Paulson v. Cosmetic Dermatology, Inc., No. 17-20094-CIV, 2017 WL 2484197, at *4

  (S.D. Fla. June 8, 2017) (“[T]he conduct suggested of Paulson—that she violated an unnamed

  company policy—does not impute to her a characteristic inconsistent with her duties as Vice

  President of Marketing and Executive Creative Director”) (collecting cases).

         The Court finds that the first-class flight attendant’s alleged statements imputing

  drunkenness and extreme intoxication to Plaintiff do not rise to the level of defamation per se in

  this context. Such statements made without reference to Plaintiff’s employment do not “impute[]

  conduct to the plaintiff[] that was incompatible with the essential function[] of [his] job.” See

  Paulson, 2017 WL 2484197, at *4. Plaintiff has affirmatively stated that he was on the way to a

  conference—not yet working—and the Court has identified no precedent where imputing poor

  judgment related to social drinking was actionable as defamation per se. Moreover, Defendant




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  disputes that such statements were ever made and Plaintiff has not presented evidence outside of

  his self-serving testimony.

          B. Publication to a Third Party

          Even if the first-class flight attendant’s statements were actionable as defamation per se,

  the Court finds that Plaintiff has failed to show publication of the statements to a third party. Aflalo,

  2018 WL 3235529, at *1. Plaintiff argues that the statements were publicized to other passengers

  on the plane, including his unnamed business colleagues. 2 Defendant points out that Plaintiff

  cannot identify a single, specific passenger who heard the statements.

          “[I]t is essential to a cause of action [for defamation] that the alleged slanderous or

  disparaging statement be made or published to some third person.” Fun Spree Vacations, Inc. v.

  Orion Ins. Co., 659 So. 2d 419, 421 (Fla. 3d DCA 1995) (alterations in original; internal quotation

  marks omitted) (quoting State Farm Fire & Cas. Co. v. Compupay, Inc., 654 So. 2d 944, 948 (Fla.

  3d DCA 1995)). To meet the standard for publication to a third party, a plaintiff “must allege the

  ‘identity of the particular person to whom the remarks were made with a reasonable degree of

  certainty’ to afford the defendant ‘enough information to determine affirmative defenses.’” Aflalo,

  2018 WL 3235529, at *3–4 (citing Ward v. Triple Canopy, Inc., No. 8:17-cv-802-T-24, 2017 WL

  3149431, at *4 (M.D. Fla. July 25, 2017)).




  2
     On September 11, 2018, Plaintiff filed a Motion for Leave to Take Deposition of Newly
  Disclosed Witnesses After Discovery Deadline. [ECF No. 67]. Plaintiff argued that names of the
  first-class cabin passengers had been withheld from him during discovery. Plaintiff’s Motion was
  filed after Defendant’s Motion for Summary Judgment had been fully briefed and pending for
  almost three months, and more than four months after the close of all discovery. Additionally,
  Plaintiff did not even request a copy of the passenger manifest until less than six weeks before
  discovery closed, nor did he take any measures during that time to ensure production of the
  passenger list, such as filing a motion to compel. The Court denied Plaintiff’s Motion, finding that
  the passenger list could have been discovered or compelled during the course of discovery had
  Plaintiff done his diligence. [ECF No. 72].
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         Accordingly, a vague assertion that “people heard it” does not meet the standard for

  publication to a third party. See Scobie, 2013 WL 3776270, at *3 (collecting cases); see also

  Catalyst Pharm., Inc. v. Fullerton, No. 16-25365-CIV, 2017 WL 6558397, at *6–7 (S.D. Fla. Aug.

  8, 2017), reconsideration denied, No. 16-25365-CIV, 2017 WL 6558398 (S.D. Fla. Nov. 7, 2017),

  aff’d, 748 F. App’x 944 (11th Cir. 2018) (“[S]imply stating ‘others’ accessed the information does

  not, standing alone, establish those ‘others’ were ‘third parties’ as required by Florida defamation

  law.”); Masvidal v. United States Dep’t of Justice, No. 09-61485-CIV, 2010 WL 11606119, at *8

  (S.D. Fla. Mar. 29, 2010) (finding no third party publication where plaintiff made only conclusory

  allegations that defendant published a defamatory statement to “other persons and entities” without

  any identifying details).

         Here, Plaintiff generally asserts that other passengers in first-class, which included people

  from the conference and other “business colleagues,” heard the first-class flight attendant saying

  that he was     “a drunk,” “a drunk in first-class,” “drunk and disorderly,” and “extremely

  intoxicated.” But Plaintiff has not identified a single specific individual who heard these

  statements. Vaguely asserting that “other passengers in first-class” heard the flight attendant say

  he was drunk does not meet the legal requirements for publication to a third party.

         The Court therefore finds that Defendant’s Motion must be granted as to Plaintiff’s

  defamation per se claim. 3



  3
    Plaintiff also seemingly argues that Defendant defamed him per se when the police officer who
  boarded the place at Dallas/Fort Worth told him within earshot of the first-class cabin that he was
  being removed from the aircraft because he had committed “a felony because of his extreme
  intoxication, and that the severity of his crime merited a lengthy incarceration.” Those police
  officers did not work or speak for American Airlines, so Plaintiff cannot impute their statements
  onto Defendant for liability purposes.
           But even if the officer’s comment could be imputed to Defendant, Plaintiff cannot establish
  that it was publicized to a third party. As discussed supra, a vague assertion that “people heard it”
  does not meet the standard for publication to a third party. See Scobie, 2013 WL 3776270, at *3
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     III.      Negligence

            Plaintiff also brings a claim for negligence against Defendant. Defendant argues that

  Plaintiff’s claim is preempted by the Airline Deregulation Act, 49 U.S.C. § 41713 et seq.

  (“ADA”). 4 Plaintiff responds that this Court’s opinion in Adler v. WestJet Airlines, Ltd., 31 F.

  Supp. 3d 1381 (S.D. Fla. 2014), forecloses preemption. 5

            A. ADA Preemption

            “The Airline Deregulation Act [] was enacted in 1978 as an amendment to the Federal

  Aviation Act (“FAA”) to encourage competition in the aviation industry through deregulation.”

  Xiaoyun Lucy Lu v. AirTran Airways, Inc., 631 F. App’x 657, 659–60 (11th Cir. 2015) (citing

  Morales v. Trans World Airlines, Inc., 504 U.S. 374, 378 (1992)). Congress included a preemption

  provision “[t]o ensure that the States would not undo federal deregulation with regulation of their

  own.” Id.; see also Barbakow v. USAIR, Inc., 950 F. Supp. 1145, 1146 (S.D. Fla. 1996). The

  provision states: “[s]tates may not enact or enforce a law, regulation, or other provision having the

  force and effect of law related to a price, route, or service of an air carrier that may provide air

  transportation under this subpart.” 49 U.S.C. § 41713(b)(1) (2012) (emphasis added). The ADA

  also preempts private actions. Branche v. Airtran Airways, Inc., 342 F.3d 1248, 1254 (11th Cir.

  2003)




  (collecting cases); see also Masvidal, 2010 WL 11606119, at *8. Plaintiff cannot identify a single
  individual who heard the remark that he was being pulled off a plane for committing the felony of
  being drunk on an airplane.
  4
    Plaintiff’s defamation claim is not preempted. See Xiaoyun Lucy Lu v. AirTran Airways, Inc.,
  631 F. App’x 657, 661 (11th Cir. 2015) (concluding that “Lu’s slander claim involving Lu’s
  removal and the security officer’s related statements are not preempted”).
  5
    At the hearing, Plaintiff argued that Adler and other cases also stood for the proposition that the
  Air Carrier Access Act, 49 U.S.C. § 41705 et seq. (“ACAA”) did not preempt his claim. But those
  cases are inapposite: Defendant’s counsel does not suggest that ACAA preemption applies here.
  Nor could it. Only ADA preemption could apply.
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           “The Supreme Court has defined ‘related to’ under the ADA broadly, using the same

   standard for interpretation as [the Employee Retirement Income Security Act of 1974].” Lu, 631

   F. App’x at 659–60 (citing Morales, 504 U.S. at 383–84). The Eleventh Circuit has also interpreted

   “service[s]” expansively, adopting the definition of the Fifth Circuit:

          “Services” generally represent a bargained-for or anticipated provision of labor
          from one party to another. If the element of bargain or agreement is incorporated in
          our understanding of services, it leads to a concern with the contractual arrangement
          between the airline and the user of the service. Elements of the air carrier service
          bargain include items such as ticketing, boarding procedures, provision of food and
          drink, and baggage handling, in addition to the transportation itself. These matters
          are all appurtenant and necessarily included with the contract of carriage between
          the passenger or shipper and the airline. It is these [contractual] features of air
          transportation that we believe Congress intended to de-regulate as “services” and
          broadly to protect from state regulation.

   Branche, 342 F.3d at 1256–57 (quoting Hodges v. Delta Airlines, Inc., 44 F.3d 334, 336 (5th Cir.

   1995) (en banc)). Therefore, the Court must determine whether Plaintiff’s negligence claim relates

   to an airline’s services “in a way that implicates the ADA’s deregulation of the economic and

   contractual features of air transportation.” Pipino v. Delta Air Lines, Inc., No. 15-cv-80330, 2015

   WL 4450039, at *3 (S.D. Fla. July 20, 2015); see also Branche, 342 F.3d at 1258–59 (“In short,

   the phrase ‘related to the . . . services of an air carrier’ means having a connection with or reference

   to the elements of air travel that are bargained for by passengers with air carriers. This includes

   not only the physical transportation of passengers, but also the incidents of that transportation over

   which air carriers compete.”).

          B. Plaintiff’s Negligence Claim

          In Count III, Plaintiff asserts a claim for common law negligence. Plaintiff alleges that

   Defendant was negligent because it failed to provide him with reasonable accommodations for his

   disability. Under Florida law, a plaintiff must demonstrate “a duty, breach of that duty, causation,




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   and damages” to succeed on a negligence claim. Virgilio v. Ryland Grp., Inc., 680 F.3d 1329, 1339

   (11th Cir. 2012) (citing Curd v. Mosaic Fertilizer, L.L.C., 39 So. 3d 1216, 1227 (Fla. 2010)).

          Plaintiff alleges that Defendant owed him two duties of care: (1) to supervise and train its

   employees to recognize and accommodate a disabled passenger, and (2) to provide reasonable

   accommodations for his disability. According to Plaintiff, these duties of care included helping

   Plaintiff place his prosthetics in the overhead bin while boarding, providing him with a wheelchair

   in the airport, and providing him with ice and/or aspirin when requested. Plaintiff argues Defendant

   breached these duties by failing to supervise and train its employees to make those reasonable

   accommodations. Because of this, Plaintiff alleges that he suffered damages including “harm to

   his person and body for overcompensating for not having a wheelchair . . . and other major physical

   and mental harm.” [ECF No. 16, ¶ 66]. Plaintiff asserts that his claimed injuries are not the types

   of claims that the ADA preempts. 6

          Under Eleventh Circuit precedent, boarding procedures are services. Branche, 342 F.3d at

   1257 (including “boarding procedures” in its definition of services). Thus, courts here have

   repeatedly found that the ADA preempts different aspects of boarding procedures. E.g., Lu, 631

   F. App’x at 660 (finding rudeness and mistreatment during boarding preempted); Koutsouradis v.

   Delta Air Lines, Inc., 427 F.3d 1339, 1344 n.2 (11th Cir. 2005) (finding claim preempted by the

   ADA because the conduct at issue arose out of gate attendants asking Plaintiff to open her bag for

   safety purposes while boarding).




   6
     Most of these claims are easily disposed of. This Court has previously determined that the ADA
   preempts claims relating to flight attendants’ determination that a passenger is intoxicated and the
   provision of food and drink. E.g., Barbakow, 950 F. Supp. at 1149. Thus, Plaintiff’s breach and
   injury allegations relating to those issues fail. All that remains is Plaintiff’s claim that the flight
   attendants should have helped him with his wheelchair and prosthetics and the injury he claims
   resulted.
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          But, not all claims relating to prices, routes, or services are preempted. The Eleventh

   Circuit has recognized that “‘[s]ome state actions may affect [airline prices, routes or services] in

   too tenuous, remote, or peripheral a manner’ to have pre-emptive effect.” Branche, 342 F.3d at

   1255 (quoting Morales, 504 U.S. at 390). Despite its broad interpretation of “services,” the

   Eleventh Circuit has specifically excluded claims for negligence arising from personal injuries

   resulting from the operation or maintenance of the aircraft. Id. at 1258. The Court reasoned that

   excluding such claims respects Congress’s stated goal of promoting competition in the airline

   industry. Id. By doing so, the Court enabled passengers to bring claims based on negligence that

   caused physical injuries, but not challenges to contractual features of service—features that airlines

   use to distinguish themselves in a buyer’s-choice market.

          At base, there are three issues presented here: First, does assisting with prosthetics and

   providing a wheelchair constitute a “service” under the ADA; second, did Plaintiff suffer an injury;

   and third, did Defendant cause his injury?

                  1. Plaintiff’s claims relate to airline services.

          The Court agrees that the specific claims asserted here—that Plaintiff should have been

   provided a wheelchair as requested and that the flight attendants should have assisted him with

   placing his prosthetics and baggage in the overhead bin—are preempted. These are “[b]aggage

   handling [and] passenger handling” claims that are “inherent when you board an airplane” and

   “relate to the heart of services that an airline provides.” E.g., Koutsouradis, 427 F.3d at 1344 n.2.

   Simply put, these are disability assistance boarding procedures that passengers contract for when

   purchasing a ticket. Thus, because the procedures Plaintiff complains of fall within the competitive

   marketplace that Congress intended to create with the ADA, Plaintiff’s claims are preempted.




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                   2. Plaintiff suffered no cognizable injury caused by Defendant.

           In cases before this Court, a defining factor of negligence and personal injury claims

   against an airline is that an employee’s performance of his duties caused a plaintiff some specific

   physical, mental, or emotional injury. Pipino, 2015 WL 4450039, at *3 (allowing negligence claim

   where defendant denied plaintiff the right to board because she appeared to be intoxicated and

   subsequently refused to assist her when she suffered a panic attack); Karlin v. Delta Airlines, No.

   12-80620, 2013 WL 12142361, at *2 (S.D. Fla. Feb. 12, 2013) (personal injury claim not

   preempted where bag fell on passenger’s head). Here, Plaintiff’s only injury is the general pain he

   experienced walking to and inside the plane. 7 Courts have not addressed the question of whether

   the ADA preempts claims of generalized “pain” during a flight as a result of boarding procedures.

   Cf. Xiaoyun Lu v. AirTran Airways, Inc., No. 1:13-CV-1846-CC, 2015 WL 5936934, at *6 (N.D.

   Ga. Mar. 31, 2015), aff’d sub nom. Xiaoyun Lucy Lu, 631 F. App’x 657 (“Although Plaintiff does

   not allege a physical injury, Plaintiff alleges that she suffered emotional injury and that her injury

   is directly related to the faulty operation of a component of the aircraft. Such a claim, in this Court’s

   view, relates to onboard safety.”). Plaintiff has not provided, nor has the Court independently

   identified, any case law to support a finding that such general pain is an actionable injury.

           Moreover, as with any negligence claim, Plaintiff must establish that Defendant’s negligent

   performance of a duty in some way caused the specific injury he suffered. He fails to do so.

   According to Plaintiff, his pain originated from his walk to the gate. Plaintiff does not pinpoint an

   injury or pain that originated from anything the flight attendants did or did not do. The lack of




   7
     Plaintiff’s counsel conceded at argument that there is no evidence in the record to support his
   injury other than his client’s testimony that he was in pain at that time.
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   causation removes this case from similar airline negligence cases where faulty operation or some

   other affirmative act by a flight crew caused an injury. E.g., Karlin, 2013 WL 12142361, at *2.

          While an injury claim resulting from a flight attendant’s negligence in executing a boarding

   procedure could possibly survive preemption, e.g., Pipino, 2015 WL 4450039, at *3, Plaintiff has

   not proven a cognizable injury caused by Defendant here. Accordingly, Plaintiff’s negligence

   claim cannot survive summary judgment.

                                           CONCLUSION

          Accordingly, it is

          ORDERED AND ADJUDGED that Defendant’s Motion for Summary Judgment is

   GRANTED. This action is CLOSED for administrative purposes and all pending motions are

   DENIED as MOOT.

          DONE AND ORDERED in Chambers at Miami, Florida, this 29th day of March, 2019.




                                                        ________________________________
                                                        DARRIN P. GAYLES
                                                        UNITED STATES DISTRICT JUDGE




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